                                   IN THE UNITED STATES DISTRICT COURT
    Case 3:15-cr-00432-M FOR
                          Document 591 Filed
                             THE NORTHERN    08/30/16
                                          DISTRICT      Page 1 of 1
                                                   OF TEXAS                                               PageID 1363
                                                    DALLAS DIVISION

UNITED STATES OF AMERICA                                      )
                                                              )
VS.                                                           )                       CASE NO.: 3:15-CR-432-M (05)
                                                              )
VICTOR AGUILAR,                                               )
         Defendant.                                            )

                 ORDER ACCEPTING REPORT AND RECOMMENDATION OF THE
              UNITED STATES MAGISTRATE JUDGE CONCERNING PLEA OF GUILTY

       After reviewing all relevant matters of record, including the Notice Regarding Entry of a Plea of Guilty, the
Consent of the defendant, and the Report and Recommendation Concerning Plea of Guilty of the United States
Magistrate Judge, and no objections thereto having been filed within fourteen days of service in accordance with
28 U.S.C. § 636(b)(1), the undersigned District Judge is of the opinion that the Report and Recommendation of the
Magistrate Judge concerning the Plea of Guilty is correct, and it is hereby accepted by the Court. Accordingly, the
Court accepts the plea of guilty, and VICTOR AGUILAR is hereby adjudged guilty of Count 2 of the
superseding Indictment, in violation of 21 U.S.C. § 846, that is, Conspiracy to Distribute 50 grams or more of
Methamphetamine. Sentence will be imposed in accordance with the Court's scheduling order.

9       The defendant is ordered to remain in custody.

9       The Court adopts the findings of the United States Magistrate Judge by clear and convincing evidence that
        the defendant is not likely to flee or pose a danger to any other person or the community if released and
        should therefore be released under § 3142(b) or (c).

G       Upon motion, this matter shall be set for hearing before the United States Magistrate Judge who set the
        conditions of release for determination, by clear and convincing evidence, of whether the defendant is likely
        to flee or pose a danger to any other person or the community if released under § 3142(b) or (c).

G       The defendant is ordered detained pursuant to 18 U.S.C. § 3143(a)(2). The defendant shall self-surrender
        to the United States Marshal no later than ____________________.

G       The defendant is not ordered detained pursuant to 18 U.S.C. § 3143(a)(2) because the Court finds
        G       There is a substantial likelihood that a motion for acquittal or new trial will be granted, or
        G       The Government has recommended that no sentence of imprisonment be imposed, and
        G       This matter shall be set for hearing before the United States Magistrate Judge who set the conditions of release
                for determination, by clear and convincing evidence, of whether the defendant is likely to flee or pose a danger
                to any other person or the community if released under § 3142(b) or (c) .

:       The defendant is not ordered detained pursuant to 18 U.S.C. § 3143(a)(2) because the defendant has filed
        a motion alleging that there are exceptional circumstances under § 3145(c) why he/she should not be
        detained under § 3143(a)(2). This matter shall be set for hearing before the United States Magistrate
        Judge who set the conditions of release for determination of whether it has been clearly shown that
        there are exceptional circumstances under § 3145(c) why the defendant should not be detained under
        § 3143(a)(2), and whether it has been shown by clear and convincing evidence that the defendant is
        likely to flee or pose a danger to any other person or the community if released under § 3142(b) or
        (c).

        SIGNED this 30th day of August, 2016.

                                                          _________________________________
                                                          BARBARA M. G. LYNN
                                                          CHIEF JUDGE
